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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MARY WEST, on behalf of herself and all
others similarly situated,

                                   Plaintiff,
                 -against-                                                    20 CIVIL 7364 (PAE)

                                                                                JUDGMENT
HARRIET CARTER GIFTS,
INCORPORATED, AND AMERIMARK
DIRECT LLC,

                                    Defendants.
-----------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memo-Endorsed Order dated December 4, 2020, that Plaintiff and Plaintiff’s

attorney having filed a Notice of Voluntary Dismissal, with prejudice, that the above entitled

action against Defendant shall be and hereby is dismissed with prejudice and on the merits,

without costs, or disbursements, or attorney’s fees to any party pursuant to Rule 41(a)(1)(A)(i) of

the Federal Rules of Civil Procedure. Judgment is hereby entered.

Dated: New York, New York
       December 4, 2020




                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
